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                                           EXHIBIT A

                                JUDGE CORMAC J. CARNEY
                         PRESUMPTIVE SCHEDULE OF PRETRIAL DATES

                               Time        Weeks     Parties’
                                           before   Requested       Court
           Matter
                                            trial     Dates         Order

  Trial date (jury)           8:30 a.m.             01/22/2024
  Estimated length: 7 days   (Mondays)

  File Findings of Fact                      -1     01/15/2024
  and Conclusions of Law
  and Summaries of
  Direct Testimony

  Final Pretrial              11:00 a.m.     -2     01/05/2024
  Conference; Hearing on     (Mondays)
  Motions in Limine; File
  Agreed Upon Set of
  Jury Instructions and
  Verdict Forms and Joint
  Statement re Disputed
  Instructions and Verdict
  Forms; File Proposed
  Voir Dire Questions and
  Agreed-to Statement of
  Case

  Lodge Pretrial Conf.                       -3     01/02/2024
  Order; File Memo of
  Contentions of Fact and
  Law; Exhibit List;
  Witness List; Status
  Report re Settlement

  Last day for hand-                         -6     12/09/2023
  serving Motions in
  Limine

  Last day for hearing        1:30 p.m.      -7     Defendant
  motions                    (Mondays)               requests
                                                    12/5/2023,
                                                    12/12/2023
  Deadline to file replies                          09/21/2023
  to case-dispositive
                                               1
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                              Time      Weeks        Parties’
                                        before      Requested      Court
          Matter
                                         trial        Dates        Order

  motions and Daubert
  motions
  Deadline to file                                  10/31/2023
  oppositions to case-
  dispositive motions and
  Daubert motions
  Case-dispositive                                  10/11/2023
  motions and Daubert
  motions (other than
  Motions in Limine).


 L.R. 16−14 Settlement Choice: (1) CT/USMJ (2) Court Mediation Panel (3) Private ADR

                               ADDITIONAL DEADLINES


  Expert discovery cut-off                       07/28/2023
  Reply Expert Reports                           06/20/2023
  Rebuttal Expert Reports                        05/20/2023
  Initial Expert Reports                         04/23/2023
  Defendants to Serve                            04/13/2023
  Final Invalidity
  Contentions
  Plaintiffs to Serve Final                      3/01/2023
  Infringement
  Contentions
  Completion of Fact                             02/4/2023
  Discovery
  Last day to conduct                            04/02/2023
  Settlement Conference

  Claim                                          Requested for
  Construction/Markman                           the week of
  Hearing                                        12/05/2022,
                                                 subject to the
                                                 Court’s
                                                 availability
  Deadline for Substantial                       10/22/2022
  Completion of
  Document Production
  Reply Claim                                    10/8/2022
  Construction Briefing
                                             2
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  Responsive Claim                        09/17/2022
  Construction Briefing
  Opening Claim                           08/13/2022
  Construction Briefing
  Joint Claim                             06/30/2022
  Construction and
  Prehearing Statement
  Deadline to Join Other                  06/18/2022
  Parties and Amend
  Pleadings
  Exchange of Terms for                   06/15/2022
  Claim Construction
  Defendants to Serve                     04/28/2022
  Preliminary Invalidity
  Contentions (Including
  Claim Charts)
  Plaintiffs to Serve                     03/16/2022
  Preliminary
  Infringement
  Contentions (Including
  Claim Charts)
  Initial Disclosures                     09/17/2021




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